        Case 5:17-cv-00220-LHK Document 1486 Filed 05/02/19 Page 1 of 2



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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                   SAN JOSE DIVISION


 FEDERAL TRADE COMMISSION,                    Case No. 5:17-cv-00220-LHK
      Plaintiff,
                                              STATEMENT OF INTEREST OF THE
        v.                                    UNITED STATES OF AMERICA

 QUALCOMM INCORPORATED,
     Defendant.




NOTICE OF ATTORNEY APPEARANCE
Case No. 5:17-cv-00220-LHK
             Case 5:17-cv-00220-LHK Document 1486 Filed 05/02/19 Page 2 of 2



 1          Please add DANIEL E. HAAR on behalf of the United States in the above-noted case, with

 2   an address of:

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     Dated: May 2, 2019
 6

 7
                                                        /s/ Daniel E. Haar
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